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                            U NITED STATE S D ISTR ICT C O UR T
                            SO UTH ERN DISTR ICT O F FLO R IDA
              24-20037-CR-WILLIAMS/GOODMAN
                    CA SE N O .
                                        18U.S.C.j1343
                                        18U.S.C.j982(a)(2)(A)
                                                                                           mdc
  U M TED STA TES O F A M ER ICA
                                                                                  Feb 5, 2024
  VS.

                                                                                               Miami, FL
  SH EA NA H A SLEM ,

        D efendant.
                                       /


                                        IN FO R M A TIO N

         The United StatesAttorney chargesthat:

                                  G ENER AL A LLE G A TION S

         A ta11tim esm aterialto thisInform ation:

               TheUrlited States SmallBusinessAdministration (&GSBA'')wasan agency ofthe
  executivebranch oftheGovernm entoftheUnited States.Themission oftheSBA wastom aintain

  and strengthen the nation's econom y by enabling the establishm ent and viability of sm all

  businessesand by assisting in the econom ic recovery ofcom m unitiesaflerdisasters.

                               The Pavcheck Protection Prozram

         2. TheCoronavirusAid,Relief,andEconomicSecurity(CGCARES'')Actwasafederal
  1aw enacted in or around M arch 2020 and designed to provide em ergency financialassistance to

  the m illions of A m ericans w ho w ere suffering the econom ic effects caused by the COV 1D -19

  pahdem ic. One sourceofreliefprovided by the CARES Actwastheauthorization offorgivable
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  loansto smallbusinessesforjob retention,including thepaymentofpayrolland çertain other
  permissibleexpenses,throughaprogrnm referredtoasthePaycheckProtectionProgram (GTPP'').
         3.    In orderto obtain aPPP loan,a qualifying business,including a soleproprietorship,

  submitted a PPP loan application,wlzich was signed by an authorized representative of the

  business. ThePPP loan applicationrequired thebusiness(through itsauthorizedrepresentative)
  toacknowledgetheprogram rulesandmakecertain affirmativecertificationsin ordertobeeligible

  to obtain the PPP loan. ln thePPP BorrowerApplication Form (SBA Form 2483),thesmall
  business(through itsauthorizedrepresentative)wasrequiredtoprovide,among otherthings,its:
  (a)averagemonthlypayroll;and(b)nlzmberofemployees.Theinformation on the application
  andthe supporting docum entation subm itted therewith w ereused to calculatethe am otmtofm oney

  the applicantw as entitied to receive underthe PPP.

         4.    A PPP loan application was processed by a participating lender. If a PPP loan

  application w as approved,the participating lender fllnded the PPP loan using its ow n m orlies.

  W hile itwastheparticipating lenderthatissued the PPP loan,theloan was 100% guaranteed by

  the SBA. Datafrom the application,including infonuation abouttheborrow er,thetotalnm otmt

  oftheloan,and thelisted num berofem ployees,wastransm itted by the lenderto the SBA in the

  cotlrse ofprocessing the loan.

                                   Econom icIniua DisasterLoans
               The CARES Act also authorized and provided ftmding to the SBA to provide

  EconomicInjuryDisasterLoans(E%1DLs'')toeligiblesmallbusinessesexperiencing szbstantial
                                                                                        !
  financialdisnzptionsdueto theCOVID-19 pandem icto allow them to meetfinancialöbligations

  and operating expensesthatcould have been m ethad the disasternotoccurred.These COV 1D -19


                                                2
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   EIDLS included the possibility ofatladvance of up to $10,000 for qualifying applicants. The
   applicantwasnotobligated torepay thisadvance.

               In order to obtain a COV ID -19 EID L,a qualifying for-profitbusinessw asrequired

  to subm itan EIDL application totheSBA andprovideinformation aboutitsoperations,including

  itsgrossrevenuesandnum berofemployees,forthelz-m onthperiodprecedingJanuary 31,2020.

  Theapplicantalsowasrequiredtocertify underpenaltyofperjurythata11theinformation inthe
  application w astrue and correct.

               EIDL applications w ere subznitted directly to and processed by the SBA. The

  amountofthe loan approved and any advance provided was determ ined based,in part,on the

  information provided in the application concerning the numberofemployees and costofgoods

  sold.Any EIDL f'
                 unds w ere issued directly by the U nited States governm entto the applicant's

  bnnk accotmt.

                            TheD-çfendantand theR elem njEpjitie.
               Defendant SH EANA H ASLEM was a resident ofM iam i-Dade County,Florida,

  who wasemployedby the City ofM iam iPoliceDepartmentasaPoliceStafting Specialist.

               TheFinancialTeclmology Company providedsmallbusinessfundingthroughoutthe

  U nited States. It operated an online platform thatreceived PPP loan applications,and itdid the

  vetting and tinal review of those applications,including the PPP application subm itted by

  STTEANA H ASLEM . The FinancialTechnology Company'sserverswere located outside the

  state ofFlorida.

         10. TheLenderwasawholly owned subsidiary ofthe FinancialTechnology Com pany,

  alld served asthefunding nrm oftheFinancialTechnology Company forPPP loans,inclpding the


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  PPP loan obtained by SHEANA R ASLEM . The Lenderwasan SBA-approved lenderforPPP

  loans,and its servers w ere located outside the state ofFlorida.

               The Bank was a bank that did business throughoutthe United States,including

  m aintainingbranchesin the Southem DistrictofFlorida.

         12. Individual1 w as a residentofM inm i-D ade County,Florida.

                                             C O UN T 1
                                            W ire Fraud
                                         (18U.S.C.j1343)
                 Paragraphs1through 12 oftheGeneralAllegationssectionoftllislnformation are

  re-alleged and incop orated by reference asthrough ft
                                                      zlly setfol'th herein.

         2.      From in or arotm d July 2020,and continuing through in or around M arch 2021,in

  M imni-Dade Cotmty,in theSouthem DistrictofFlorida,and elsewhere,the defendant,

                                        SH EA NA H ASL EM ,

  did knowingly,and with theintentto defraud,devise,and intend to devise,aschem eand atlifice

  to defraud, and to obtain money and property by m eans of m aterially false and fraudulent

  pretenses, representations, and prom ises, know ing that the pretenses, representations, and

  prom iseswerefalse and fraudulentwhen m ade,and,fortheptuposeofexecuting theschem eand

  artitke,didknowinglytransmitandcausetobetransmitted,bymeansofwirecommunipationin
  interstateand foreign comm erce,certain m itings,signs,signals,picturesand sotmds,inviolation

  ofTitle 18,United States Code,Section 1343.

                         PUR PO SE O F TH E SC H EM E A N D A R TIFICE

         3.      The pup ose ofthe schem e and artitice w as forSH EA N A H A SLE M to unlaw fully

  emichherselfby subm itting falseandgaudulentPPP andEIDL applicationstofraudulently obtain


                                                   4
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  loan proceedsforherown use and benefit.

                                THE SCHEM E AND ARTIFACE

         The m annerand m eans by which SH EA NA H ASL EM soughtto accom plish the purpose

  oftheschem eandartificeincluded,am ong others,thefollowing;

         4.     SH EANA H ASLEM subm itted,and with theassistanceoflndividual1caused to

  be subm itted,to the SBA,via interstate wire commtmications, a false and fraudulent EIDL

  application claimingto be allindependentcontractorandthe 100% ownerofahairandnailsalon

  businessoperating underthenam elçsheanaHaslem .''ThatEIDL application falsely certifiedthat

  forthe 12 m onth period priorto January 31,2020,H ASLEM 'Sbusinesshad grossrevenues of

  $89,993 and 15employees.
                A s a result of this false and fraudulentEIDL application, SH EA NA H A SLEM

  obtained from theSBA a$10,000 EIDL advance. Thisfraudulently obtained EIDL advancewas
  providedviaElectronicFlmdsTrarlsferto HASLEM 'SaccolmtattheBank.ThisElectronicFlmds

  Transferinvolved the use ofinterstate w ire com m unications.

                SHEANA H ASLEM subm itted,and with the assistance ofIndividual1caused to

  be subm itted,to theFinancialTechnology Company,via interstatewire comm lmications,afalse

  andfraudulentPPP loanapplication (SBA Fonn 2483)claiming to bean independentcontractor
  operating a businessunderthenam eofçtsheana Haslem .'' ThatPPP loan application falsely and

  fraudulently represented the business'average m onthly payroll,alzd as pal'tofthe application

  process,HASLEM subm itted a false and fraudulent1RS Form 1040,Schedule C,for tax year

  2019. On the Folnn 2483,H A SLEM falsely represented that her business' average m onthly

  payrollwas $8,333. On the 2019 Schedule C,HASLEM stated thatherbusinesswas ttsecurity

                                                 5
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  Officer.'' That âaudulent Schedule C falsely claim ed that H ASLEM 'S business had a gross

  incom eof$102,874,no expenses,andanetprofitof$102,874.
                A saresultoftllisfalse and fraudulentapplication,SH EANA HASLEM obtained

  approxim ately $20,832 in PPP loan proceedsfrom the Lenderthatwere electronically deposited
  by the Lender into H A SLEM 'S account at the Balzk. This electronic deposit w as m ade via

  interstatew ire com m unications.

                                       U SE O F W IR ES

         8.     On or aboutthe date specified below,in the Southel.
                                                                  n District of Florida,and

  elsew here,SH EAN A H A SLEM ,forthe purpose ofexecuting and in furtherance ofthe aforesaid

  scheme andartificeto defraud,andtoobtain m oney andpropertyby m eansofm aterially falseand

  fraudulentpretenses,representations,and prom ises,lcnowing thatthe pretenses,representations,

  and promises were false and fraudulentwhen m ade,did knowingly transm itand cause to be

  transm itted ininterstateandforeigncom m erce,by m eansofwirecom mllnication,certainwritings,

  signs,signals,pictures,and sounds,as described below :

     cotv              AP/ROXIM ATS                        osjcm pvlox ov w '
                                                                            m 'c
                             DAT:
         1              February 27,2021       Electronic subm ission of a PPP loan application
                                               containing false inform ation about the '
                                                                                       àverage
                                               m onthly payroll of the independent contractor
                                               business using the nam e of ttsheana H' aslem ,''
                                               causing a w ire transm ission f'
                                                                              rom the Southern
                                               D istrict of Florida to outside of the state of
                                               Florida

         ln violation ofTitle 18,United States Code,Sections 1343 and 2.




                                               6
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                               FO RFE ITU R E ALL EG ATIO N S

         1.     TheallegationsofthisInfonnation areherebyre-allegedandby thisreferencefully

  incop oratedherein forthepup oseofallegingforfeituretotheUnitedStatesofAmericaofcertain

  property in which the defendant,SH EAN A H A SLEM ,hasan interest.

         2.     Upon conviction of a violation of Title 18,United States Code,Section 1343,as

  alleged in thislnform ation,the defendant,SH EA NA H ASLEM ,shallforfeitto the United States

  any property constituting,orderived from ,proceedsobtained,directly orindirectly,asaresultof

  suchviolation,ptlrsuanttoTitle18,United StatesCode,Section982(a)(2)(A).
         A1lpursuanttoTitle18,UnitedStatesCode,Section 982(a)(2)(A),andtheprocedlzresset
  forth in Title 21,U nited StatesCode,Section 853,asincorporated by Title 18,United States Code,

  Section 982(b)(1).


                                                                       8.
                                             M        N ZY LAPO INTE
                                             UNITED STATES ATTORNEY



                                             EDWARD N STAM M
                                                          .
                                                                                       )
                                                                                       1

                                             A SSISTAN T UN ITED STATES A TTORN EY




                                                 7
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                                    UNITED STA TES DISTR ICT C OU RT
                                    SO UTH ER N DISTRICT OF FLO RIDA

UN ITED STATES O F AM ER ICA                       CA SE N O .:

V.
                                                   CERTIFICATE O F TRTAT,ATTO RNEY
SHEANA HASLEM ,
                                                   Superseding Case lnform ation:
                                                   New Defendantts)(YesorNo)
CourtDivision (selectone)                          N um berofN ew D efendants
   E
   S M iami E:IKeyW est L FTP                      Totalnum berofcounts
     E-JFTL        D W PB

ldo hereby certify that:
  1. 1have carefully considered the allegations ofthe indictment,the numberofdefendants,the numberofprobable
    witnessesandthelejalcomplexitiesofthelndictment/lnformationattachedhereto.
 2. 1am awarethatthelnformationsupgliedonthisstatementwillberelieduponbytheJudgesofthisCotu'
                                                                                           tinsetting
       theircalendarsandschedulingcrimlnaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.j3161.
       Interpreter:(Aresorèlo)lqo
       Listlanguageand/ordialect:

       Thiscasewilltake 0 daysforthepartiesto tl'
                                                y.

 5. Pleasecheck appropriate category and type ofoffense listed below :
       (Checkonlyone)                       (Checkonlyone)
       I E& 0to 5days                    IZIPetty
       11 E1 6to 10days                  I'Z'M inor
       III IZI11to 20days                IZIM isdem eanor
       IV E '7
             1 21to 60days               EIFelony
       V D 61daysandover
       HasthiscasebeenpreviouslyfiledinthisDistrictCourt?(YesorNo)NO
       lfyes,Judge                                 Case N o.
       Hasacomplaintbeenfiledinthismatter?(YesorNo)No
       lfyes,M agistrate CaseN o.
 8. DoesthiscaserelatetoapreviouslyfiledmatterinthisDistrictCourt?(YesorNo)No
       lfyes,Judge                                 Case N o.
 9. Defendantts)infederalcustodyasof
 10. Defendantts)instatecustodyasof
 11. Rule 20 from the                D istrictof
 12. Isthisapotentialdeathpenaltycase?(YesorNo)N0
 13. Doesthiscaseoriginate from a m atterpending in theN orthern Region ofthe U .S.Attorney's Office
       priortoAugust8,2014(M ag.JudgeShaniekMaynard?(YesorNo)No
 14. Doesthiscaseoriginate from a m atterpending in the CentralRegion oftheU .S.Atlorney'sOffice
       priortoOctober3,2019(M ag.JudgeJaredStrauss?(YesorNo)No
 15. Didthism atterinvolve theparticipation oforconsultation w ith now M agistrateJudge Eduardo 1.Sanchez
     during histenure atthe U .S.Attorney's Office,w hich concluded on January 22,2023? N O
                                                                 ll         '
                                                                 j


                                                   By:
                                                            Edward N .Stam m
                                                            A ssistantU nited StatesAttorney
                                                            FL BarN o.       373826
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                            U NITED STA TE S D ISTRICT C O UR T
                            SO U TH E RN DISTRICT O F FLO R IDA

                                       PEN ALTY SH EET

  D efendant'sN am e: SH EAN A H A SLEM

  C ase N o:

  Cotmt#:1.

  W ire Fraud

   18U .S.C.$ 1343
  * M ax.Term ofIm prisonm ent:20 years im prisonm ent
  *M andatoryM in.Term ofImprisonment(ifapplicable):N/A
  *M ax.SupervisetiRelease:3years
  *M ax.Fine:$250,000
  * SpecialAssessm ent:$100

  Count#:




  * M ax.Term ofIm prisonm ent:
  *M andatoryM in.Term ofImprisonment(ifapplicable):
  * M ax.Supervised R elease:
  * M ax.Fine:
  * SpecialA ssessm ent:

  Cotmt#:




  * M ax.Term ofIm prisonm ent:
  *M andatoryM in.Term ofImprisonment(ifapplicable):
  * M ax.Supervised R elease:
  * M ax.Fine:




    'kRefersonly to possible term ofincarceration,supervised releaseand fines. Itdoesnotinclude
           restitution,specialassessm ents,paroleterm s,or forfeituresthatm ay beapplicable.
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AO455(Rev.01/09)WaiverofanIndictment

                               U NITED STATES D ISTRICT C OIJRT
                                                  forthe
                                         Southem DistrictofFlorida

              United StatesofAmerica                 )
                          V.                         )     CaseNo.
                 SHEANA HASLEM ,                     )
                                                     )
                                                     )
                                       W AW ER OF AN INDICTM ENT

       1understand that1have been accused ofone ormoreoffensespunishableby imprisonm entformorethan one
year. Iwasadvised in open coul'tofmyrightsand thenatureoftheproposed chargesagainstme.

       Afterreceiving thisadvice,Iwaivemy righttoprosecution by indictmentand consenttoprosecution by
information.




                                                                            De#ndant'
                                                                                    sJ/pw/lfre



                                                                       Signatureofde#ndant'sattoryy
                                                                                              I
                                                                        Bradley Horenstein,Esq.
                                                                      Printednameofdefendant'
                                                                                            sattorney


                                                                             Judge'
                                                                                  ssignature


                                                                        Judge'
                                                                             sprintednameand title
